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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                          Plaintiffs,                                    8:18CR110

       vs.
                                                                           ORDER
JORDAN DEROCKBRAINE,

                          Defendant.


        This matter is before the court on defendant's MOTION FOR AN ENLARGEMENT OF
TIME TO FILE PRETRIAL MOTIONS [35]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 30-day extension. Pretrial Motions shall be
filed by July 18, 2018.


        IT IS ORDERED:
        1.      Defendant's MOTION FOR AN ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [35] is granted. Pretrial motions shall be filed on or before July 18, 2018.
        2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between June 18, 2018, and July 18, 2018, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        Dated this 18th day of June, 2018.

                                                        BY THE COURT:

                                                        s/ Michael D. Nelson
                                                        United States Magistrate Judge
